                                                                      Law EnforcementCase   No        I   g02_0645                                          FBI No
                               r8cR    051946
                                                                      DURHAM COLINTY SHERIFFS OFFICE                                                          55377lWC2
          WARRANT FOR ARREST
Offense                                                                STATE OF NORTH CAROLINA                                          ln The General Court Of Justice
I M-DURHAM COUNTY ORDINANCE                                                                                                                  District Court Division


        THE STATE OF NORTH CAROLINA VS.
Name And Addrcss Ol Detendant
                                                                       To anv officer with authoritv and iurisdiction to execute a warrant for arrest for the offense(s) charqed below:
PAULA BULLOCK                                                          l. the'undersigned, find that there is probable cause to believe that on or about the il6te of-offense
I737 ALLEN JARRETT D R
                                                                       shown and in the county named above the defendant named above unlawfully and willfully did DID
MEBANE                                     NC         27302
                                                                       VIOLATE A DURHAM COUNTY ORDINANCE CNCGS I4-4) BY FAILING TO CONFINE A
ALAMANCE COUNTY                                                        WHITE AND GRAY MALE PIT BULL NAMED ''TULSA'' FOR IO DAYS FOLLOWINC THE
                                                                       BITE OF A PERSON BY ADOPTING ''TULSA'TO JUAN CARLOS MARTINEZ DURING THE
                                                                       IO DAY CONFINEMENT PERIOD. SEC,.4-40 DURHAM COUNTY ORDINANCE- BITES
                                      Date Of Birth
                                         0210911967
Social Secuity No /Tax lD No          Drivers License No & Stale
          XXX-XX-XXXX                           5480815 NC
Name Of Defendant's Employer


                                      Offense ln Violation Of G S
                                      I LOCAL ORDINANCE


Date Of Oflense
     03107t2018
Date Ol Anest & Check Digit No (As Shown On Fingerpint Card)
           20 I 8-08-30
Complainant (Name, Add@ss Or Depadment)
W. M. PINNER
DURHAM COUNTY SHERIFFS OFFICE
2OI EAST MAIN ST                                                       This act(s) was in violation of the law(s) referred to in this Warrant. This Warrant is issued upon information
DURHAM                                     NC         27701            furnished under oath by the complainant listed You are DIRECTED to arrest the defendant and bring the
DURHAM                                                                 defendant before a judicial official without unnecessary delay to answer the charge(s) above.
Names & Addresses Of n4tnesses (lncluding Counfes & Telephone Nos )




                                                                                                                           Location Ol Coutt                              Coud Date
                                                                                   STEVEN R STORCH                         New Durham County Courthouse; 004D
y1 Misdemeanor Offense Which Requires                                                                                      5IO S DILLARD ST                               Coutt Time

-    Fingerprinting Per Fingerprint Plan                                    Asslsta,t   CSC I    lClerk Of Superior Coud   DURHAM,NC2TTOI
                                                                                                            (over)

    AOC-CR-100, Rev 12117                                                     OTHER AGENCY COPY - NOT FOR SERVICE
         Administrative Office of the Courts
    @ 20'17



                                                  Case 1:17-cr-00460-LCB Document 41-1 Filed 09/12/18 Page 1 of 1
